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                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                           Plaintiffs,                                                8:13CR146

        vs.
                                                                                        ORDER
MICHAEL B. KRATVILLE,

                           Defendant.


This matter is before the court on defendant's MOTION FOR EXTENSION OF DEADLINE FOR FILING PRE-
TRIAL MOTIONS [49]. For good cause shown, I find that the motion should be granted. The defendant will be
given an approximate 60-day extension. Pretrial Motions shall be filed by October 22, 2013.


         IT IS ORDERED:


         1.       Defendant's MOTION FOR EXTENSION OF DEADLINE FOR FILING PRE-TRIAL
MOTIONS [49] is granted. Pretrial motions shall be filed on or before October 22, 2013.


         2.       The defendant is ordered to file the affidavit required by NECrimR 12.1(a) regarding speedy trial
as soon as practicable.


         3.       The ends of justice have been served by granting such motion and outweigh the interests of the
public and the defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e.,
the time between August 23, 2013 and October 22, 2013, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act for the reason defendant's counsel required additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of
this case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).




         Dated this 23rd day of August, 2013.

                                                                BY THE COURT:

                                                                s/ F.A. Gossett, III
                                                                United States Magistrate Judge
